Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
Filed 05/30/12   Case 12-30241   Doc 1
